Case 1:19-ap-01020      Doc 11     Filed 07/22/19 Entered 07/22/19 17:46:28              Desc Main
                                   Document     Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF RHODE ISLAND


In re.: KIM ZIEGELMAYER, Debtor                              BK No.: 17-11357
                                                             Chapter 7
CHARLES A. PISATURO, JR.
TRUSTEE
     Plaintiff,

       v.
                                                             AP No.:19-AP-01020
SUNFLOWER REAL ESTATE, LLC;
KIM ZIEGELMAYER, AND LINDA
L. GLYNN
      Defendant.

              ANSWER TO COMPLAINT IN ADVERSARY PROCEEDING

       The Defendant, Kim Ziegelmayer, hereby responds to the above referenced Adversary
Proceeding as follows:

   1. Defendant admits the allegations contained in Paragraphs 1, 2, 3, 4, 5, 6, 7, 11, 28, 30, 31,
      32, 33, 37, 46, 48, 49, and 50 of the Plaintiff’s Complaint.

   2. Defendant neither admits nor denies the allegations contained in Paragraphs 8, 9, 10, 12,
      13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 29, 38, 39, 40, 41, 42, 43, and 47 of
      the Plaintiff’s Complaint and leaves Plaintiff to his burden of proof.

   3. Defendant is without sufficient information to either admit or deny the allegations
      contained in paragraphs 27, 34, 35, 36, 44, 45, 51, and 52 of the Plaintiff’s Complaint and
      leaves said Plaintiff to his burden of proof;

                                         COUNT I
                      Declaratory Judgment, Turnover & Accounting
                  (Debtor’s Estate has an Equitable Interest in Sunflower)

   4. The allegations contained in paragraph 53 of Plaintiff’s Complaint are such that no
      responsive pleading is required.

   5. Defendant admits the allegations contained in Paragraphs 54 and 55 of Count I of
      Plaintiff’s Complaint.
Case 1:19-ap-01020      Doc 11    Filed 07/22/19 Entered 07/22/19 17:46:28           Desc Main
                                  Document     Page 2 of 2




   6. Defendant denies the allegations contained in Paragraphs 56, 57, 58, 59 and 60 of Count I
      of Plaintiff’s Complaint.

   7. Defendant neither admits nor denies the allegations contained in Paragraphs 61 and 63 of
      Count I of Plaintiff’s Complaint.

   8. Defendant is without sufficient information to either admit or deny the allegations
      contained in Paragraph 62 of Count I of the Plaintiff’s Complaint and leaves said Plaintiff
      to his burden of proof;

                                             COUNT II
                                     (Against Defendant Glynn)

   9. The allegations referenced in Count II of Plaintiff’s Complaint do not apply to Defendant,
      Kim Ziegelmayer, therefore no responsive pleading is required.

       WHEREFORE, Defendant prays that the Plaintiffs Complaint be dismissed and denied.


                                                        Kim Ziegelmayer,
                                                        By her attorney

                                                        /s/Christopher M. Lefebvre#4019
                                                        PO Box 479
                                                        Pawtucket, RI 02862
                                                        Tel: (401) 728-6060
                                                        Fax: (401) 728-6534
                                                        chris@lefebvrelaw.com

                              CERTIFICATION OF SERVICE

       I hereby certify that on July 22, 2019 I electronically filed an Answer to Complaint with
the Clerk of the Bankruptcy Court for the District of Rhode Island using the CM/ECF System.
The following participants have received notice electronically: Office of the U.S. Trustee, Peter
J. Furness, Esq. and Charles A. Pisaturo, Jr., Esq.; and I hereby certify that I have mailed by
United States Postal Service, postage pre-paid, the document and a copy of the Notice of
Electronic Filing to the following non CM/ECF participants: NONE

                                                           /s/Christopher M. Lefebvre
